                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

                                   No. 5:14-CR-00240-F-1

UNITED STATES OF AMERICA                           )
                                                   )
                          v.                       )              ORDER
                                                   )
WILLIAM SCOTT DAVIS, JR.,                          )
               Defendant.                          )


        The court is in receipt of Defendant's numerous filings. Defendant is DIRECTED that

further communication with the court shall be made solely through his appointed counsel, Joseph

L. Ross, II.

        SO ORDERED.
                     ;I
        This, the Jj_ day of August, 2015.




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